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 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5
                           UNITED STATES DISTRICT COURT
 6
                                   DISTRICT OF NEVADA
 7
                                              -oOo-
 8
      UNITED STATES OF AMERICA,      )
 9                                   ) No. 2:07-cr-132-PMP-RJJ
                     Plaintiff,      )
10                                   )
           vs.                       ) GOVERNMENT’S MOTION TO
11                                   ) UNSEAL TRANSCRIPT OF
      KATHY NELSON,                  ) SENTENCING HEARING
12                                   )
                     Defendant.      )
13    _______________________________)
14           The United States of America, by and through Daniel G. Bogden, United
15    States Attorney, and Adam M. Flake, Assistant United States Attorney, respectfully
16    requests that this Court unseal the transcript of the sentencing hearing conducted in
17    this case on April 13, 2009, for the limited purpose of allowing the Government to
18    obtain a copy of the transcript and use it to respond to Nelson’s 28 U.S.C. § 2255
19    motion.
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      The undersigned avers that he makes this motion in the interests of justice, and that
 1
      in order to respond to the allegation in Nelson’s 28 U.S.C. § 2255, it is necessary to
 2
      review the sentencing transcript. If the Government relies upon information in the
 3
      sentencing transcript in its response, it will file the response under seal to avoid
 4
      disclosing potentially sensitive information.
 5

 6
             DATED this 30th day of November, 2010.
 7
                                                 Respectfully submitted,
 8
                                                 DANIEL G. BOGDEN
 9                                               United States Attorney
10
                                                  /s/ Adam M. Flake
11
                                                 ADAM M. FLAKE
12                                               Assistant United States Attorney
13

14                                               IT IS SO ORDERED.

15

16                                               ________________________________________
17                                               PHILIP M. PRO. U.S. DISTRICT JUDGE

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                                                  Dated: December 1, 2010.
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                                          CERTIFICATE OF SERVICE
 1

 2

 3
      UNITED STATES OF AMERICA,            )
 4                                         ) No. 2:07-cr-132-PMP-RJJ
                        Plaintiff,         )
 5                                         )
            vs.                            )
 6                                         )
      KATHY NELSON,                        )
 7                                         )
                        Defendant.         )
 8    ____________________________________ )

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            Pursuant to the rules of the above court, I hereby certify that I am an employee of the United
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      States Attorney’s Office, United States Department of Justice, and that on this date I caused the
11
      foregoing document, Government’s Motion To Unseal Transcript of Sentencing Hearing, to
12
      be delivered to all parties to this action by e-service.
13
                                                      DATED: this 30th day of November 2010.
14

15
                                                         /s/ Sarah L. Overby
16                                                      SARAH LAUER-OVERBY
                                                        Paralegal
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